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IN T.HE CIRCUIT COURT FOR BALTIMORE CITY MARYLAND

DENISE THORTON, Indi\-'idually, and as `Personal
Represent`ative ofthe Estate of CIERRA RANDOLPH
9625 Axehead Court

Randallstown, MD ` 21 133

and _?

ADRIAN MILES as .Parent and Next Friend of
ADR_[AN MILES_, a minor

4108 Frankford Ave, 2'nd floor

Baltimo.re MD 21206

and

KE.ITH RANDOL`PH, Individually
1810 Harlem Avenue
Ba]tirnore, MD 21217

Plaintiffs

 

VS_

_MARYLAND G.ENERAL HOSP[TAL_. INC.
827 Linden Ave.
Baltimore, MD 21201

Serve:

 

Resident Agent
Megan M. Aj'thur
24th Floor

250 W. Pratt Street
Baltir.nore, MD 21201

 

Defendant
COMPLAI NT

Plaintiffs, as set forth in the above caption, by and through counsei, Tho Coohran _Firm2

 

 

file this Complaint against Det`endant Maryland Ger')e.ral Hospt`tat. lno. and allege as follows in

support ofthe claim:

 

 

 

 

 

 

 

" case 1:”`1`3,?¢v?0`i)1e”2¢v\7|\m"5660¢'?{@%1~`2“1=`1§©`1`/`1571§- Page 2 of 15

PARTIES

1. Piainti.ff Denise Thornton is the duly appointed administrator of the Estate of
Cierra Randol_ph, and Cierra Rando.lph:s natural mother. Denise Thornton resides at 9625
Axehead Court, Randallstown, Maryland.

2. Plaintiff Adrian Miles is the natural father and parent of Adrian Mi]es, who is
Cierra Randolph’s natural son. Adn`an l\/Iiles resides at 4108 Frankford Ave, 2nd floor,
Baltimore MD 21206.

3. Plaintiff Keith Randolph is the natural father of Cierra Randolph. Keith Randolph
resides at 1810 Harlem Avenue, Baltimore, Maryland 21217.

4. Defendant Maryland General Hospital, Inc. is, and at all times relevant herein
vvas, a registered Mar_vland Cotporation conducting business in Baltimore City= and other places,
and providing health care services,' including pre-natal, peri-parturn and post-partum obstetrical

care to persons in need thereof

.]URISDICTION AND VENUE
5. lurisdiction is vested in this Court because the Defendants do business in
Baltirnore City, Maryland, the healthcare at issue occurred in Maryland, and the alleged damages
exceed thirty thousand ($30,000) do1lars.
6. Plaintiffs have complied with the requirements of Annotated Code-of Maryland, Courts
and J udicial Proceedings Article, §3-2A-06B and have been granted an Order of Transfer of the

case to this Court from the Agency.

 

 

 

 

 

 

 

 

 

 

 

 

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FACTS COMMON TO ALL COUN'I`S

6. On November 4, 2010, Cierra Randolph, then 37 weeks gestation, was admitted to
Maryland General Hospital for onset of labor.

7. Within one hour of her presentation to Maryland General, Ms. Randolph was
diagnosed with an intra-uterine fetal demise secondary to a suspected placental ahruption, with
laboratory results strongly suggestive of intrauterine hemorrhage and a severe coagulopathy.

8. Ms. Randolph’s membranes Were artificially ruptured at 00:14 on November 5,
2010.

9. At 01 : 18 Ms. Randolph delivered a deceased male infant

10. At 01:_20 Ms. Randolph’s placenta was delivered with gross evidence of total
abruption including a large clot covering the retro-placental surface

11. Ms. Randolph continued to hemorrhage after delivery

12. By 01:41 hemobate and cytotec had been used in an attempt to control the
bleeding lt was also noted at this time that the only lV line that had been started upon 1\/15.
Randolph’s arrival had become infiltrated

13. By 01 :45, Ms. Randolph had lost an estimated 750cc’s of blood__ Was continuing
to hemorrhage, and had no lV access with which to replace her intravascular volume

14. At 01 :46 Ms. Randolph was transferred to her room in order to start an l'v'.

15. At 01 :52 nursing notes indicate that two attempts had been made at starting an IV

but neither Was successful

 

 

 

16. At 01 :54, Nurse Chandra Dodson paged IV therapy and was told they could not

respond and that she should contact the nursing supervisor.

 

 

 

 

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17. At 02:46, with no lV in place, Anesthesia was paged by Ms. Randolph’s nurse
Anesthesia responded by telling Ms. Randolph’s nurse to call phlebotomy.

18. At 02:52 a unit of PRBC’s was hung for Ms. Randolph. 2 minutes later, it was
discontinued because the IV was noted to be infiltrated

19. At 03:00 Ms. Randolph was transferred to the lCU. She arrived there with no l'v'
access Several more attempts at IV placement were made without successl Finally, venous
access was acquired via a right ante-cubital cut down. Ms. Randolph continued to decompensate.

20. At 03:45, a code blue was finally called and l\/Is. Randolph was intubated.

21. The code was run for more than two hours 1\/15. Randolph was detibn`llated three
times during the code Ms. Randolph’s heart rate and blood pressure eventually returned

22. Ms. Randolph remained in the lCU on a ventilator for the next day and half
During this time, she required numerous vassopressors and infusions of blood and blood
products to maintain a blood pressure

23. At 12:30 on November 7`, 2010, Ms. Randolph arrested for the final time She was
pronounced dead at 12:40 pm.

Negligence Causing Wrongfu] l)eath

24. Plaintiffs incorporate herein by reference each and every allegation set forth
above and further state as follows:
25.- Defendant Maryland General l-lospital, lnc. and its agents, servants= and

employees, owed Cierra Randolph a duty to exercise the degree of care, skill and judgment

 

 

 

 

expected of reasonable and competent health care _providers_. acting in the same or similar

circumstances, whose duty included, among other things, the reasonable monitoring, testing,

 

 

 

 

 

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administration and management of Ms. Randolph’s intra and post partum bleeding
complications

26. Defendant Maryland General Hospital, lnc. and its agents, servants, and
employeesl were negligent in the management and care of Cierra Randolph including, but not
limited to the diagnosis and treatment of her intra and post partum bleeding disorder.

27. As a direct and proximate result of the negligence of Defendant Maryland General
Hospital, lnc. and its agents, servants, and employees, Cierra Randolph’s life was prematurely
ended

28. As a further direct and proximate result of the negligence of Defendant Maryland
General Hospital, lnc. and its agents, servants, and employees, the Plaintiffs have incurred
funeral expenses and have incurred, and will continue to incur in the future, the lost financial
support, emotional support, solatiurn, and household services of Cierra Randolph.

29. As a further direct and proximate result of the negligence of Defendant Maryland
General l-los_p.ital, lnc. and its agents, servants, and employees, the Plaintiffs have been further
damaged

Wl-IEREFOR_`E, the Claimants demand judgment in excess of 330,000 (thirty thousand)
in compensatory damages against Defendant Maryland General l-lospital, lnc. and its agents,

servants, and employees

COUNT TWO
Negligence - Survival Action

 

 

 

30:'“"~Plainti'ffsrincorporaterhereinrby-reference_each_and~every _all'egati'on“set_forth _

above and further state as follows:

 

 

 

 

 

 

 

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31. Defendant lMaryland General Hospital, lnc. and its agents, servants, and
eniployees, owed C:ier.ra Randolph a duty to exercise the degree of care, skill and judgment
expected of reasonable and competent health care providers, acting in the same or similar
circumstances, whose duty included, among other things, the reasonable monitoring, testing,
treatment and management of l\/ls. Randolph’s intra and post partum bleeding complications

32. Defendant Maryland General Hos_pital, lnc. and its agents, servants, and
employees, were negligent in the management and care of Cierra Randolph including, but not
limited to the diagnosis and treatment of i\/ls. Randolph’s intra and post partum bleeding
complications

33. As a direct and proximate result of the negligence of Defendant Maryland General
l-lospital, lnc. and its agents, servants, and employees, Cierra Randolph’$ bleeding complications
were not timely diagnosed and/or treated, causing her to consciously stiffer great pain and mental
anguish up until the time of her tragic and untimely death.

34. As a further direct and proximate result of the negligence of Defendant Maryland
General l-lospital, lnc. and its agents, servants, and employees, Cierra Ra'n_dolph was further
damaged

WHEREFORE, Denise Thornton, as Administrator of the Estate of Cierra Randolph
demands judgment in excess of $30,000 (thirty thousand) in compensatory damages against
Defendant Maryland General l-los_pital, Inc., plus interest, costs and any and all other relief as

this Co'urt may deem appropriate

 

 

 

 

 

 

 

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Respectfully submitted,

THE COCHRAN FIRM

m "
By: Pat\il`“lT D’
1100 New ork Avenue, N.W.
Suite 340, West lower
Washington, DC 20005
Telephone: (202) 682-5800
Facsimile: (202) 408-8851

Comiselfor Plciini‘i'jjfs'

Date: l§`m§_ j} 13\\

JURY DEMAND

Plaintiffs demand a trial by jury as to all issues raised herein.

W-

Paul 1\/[. D’Amore

 

CERTIFICATE OF GOOD STANDING

l hereby certify that l am a member in good standing of the Bar of the State of

i\/laryland.

 

 

 

 

Paul M. D’Amore

 

 

 

 

 

 

 

Case 1.%1§?~1917¥0(§1SF*WNNRWMNI§PlFlFedl@§@lS/B?NPQ§§TSTET 15
State of Maryland

6 St. Paul Street

Suite 1501

Baltimore, Maryland 21202-1608
(410) 767~8200

CLAIM FORM HCA NO.

CL.AIMANT(S}

Denise Thorton, lndividually, and as Personal
Rep'r'esentative of the Estate' of Cierra Randolph

Narnc

9625 Axehead Court

Strect Address

Randallstown, MD 21133
City, State, Zip Code

Adrian Miles
Name `

4108 Frankford Ave, 2nd floor

Srreet Addrcss -

Baltimore MD 21206
Ciry, Statz, Zip Cod=

Keith Randolph

Namc

1810 Harlem-Avenue

Strcet Address

Baltimore, l\/lD 21217
City, Smte, Zip Code

HEALTH cane PRoerER`( s)

Maryland General Hospital, lnc.
Namc

827 Linden Ave.

Street Address

    

all MAR 2 4?01;

HEALTH CARE

u l
ALTERNATi\/r.-. n S...u
Screet Ad FlESOLUTioN`" op`°F,C'E‘:

City, Srat:, Zip Code

Narne

Narne
Street .»\ddress

City, State, Zip Code

(l) This claim is filed pursuant to Title 3, Subtit:le ZA of the Courts

Article.
appropriate venue is

'I`he damages claimed are in excess of $30,000.00 and the
Balt:imore Cit,l

(2) The basis of the claim is described on the page(s} attached

hereto.

 

(3) The resolution of the claim will involve particular expertise in

this area of specialty; Obstetrics .
(PLEASE SEE REVERSE SIDE FOR AREAS OF CONCENTRATION)

WARNING: Each Claimant has been advised that he/she may be held civilly

liable for part or all the costs resulting from the filing of this
claim, whether it is won or lost; this would be an individual and

personal responsibility _

d_~_~____““"Panl M._B’ 'Arnore___‘~§" ture Muemse thornton

1 100 New Yorl< Avenue1 NW, Suite 340 West

Street Address
Keith Rauf‘lolph

ATTORNEY FOR CLAIMANT(S)

 

Washington. DC 20005
Cit.y, State, Zip Code

(202) 682-5800

 

Signat:ure of each Claimant:

Telephone Number

 

 

 

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STATE OF MARYLAND
EXECUHVEDHMRTMENT

MAKHNOTMHLEY
GOVERNOR

 

TDD (410) 333~3093

 

WlLLlAM DONA.LD SCH.A.EFER TOWER
6 ST. PAUL STR.EET, SU[TE 1501
BALTLMOR.E, MARYLAND 21202-]608

BALTIMOR.E l-BOO-492-1951

HCADRO #

Agency Appropri at ion Code:

Claimant(s):

Home Address:
City Randallstown

HEA_LTH CARE ALTERNATIVE DlSPUTE R_ESOLUTION OFF[CE

PERSONAL INFORMATION CERTIFICATION

 

DENISE THORTON, lndividually, and as Personal Representative of the
Estate of CIERRA RANDOLPH and ADRlAN Mll,ES as Parent and
Next Ftiend of ADRIAN MILES, a minor, and KEITH RANDOLPH

 

9625 Axehead Coui't

 

State

l`elephone Numbers: Worl<

Date ofBirth;

Home
Work
Home
Work
Home

05/28/1962

05/31/1988

04/17/1987

Social Security Numbers

Maryland Driver’s License Number(s) :

218

 

HARRY L. CH.ASE, DIR.ECTOR

 

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aesoi.urlou oFFicE

MAR 2 4 2011

ALTEHNATNE D|Sp
,_ HESOLuTioN oFFiLd;E
23 . 0 1 . 05

(Denise Thornton)
(443) 629-9940

(Adrian Miles)
(443) 865 -0081

 

(Keith Randolph)
(443) 469-1367

(Denise Thornton)

(Cieira Randolph (deceased))
(Adrian Miles)

(Denise Thornton)

 

217

(Cierra Randolph (deceased))

 

214

(Aanan Miies)

 

 

Taxpayer ldentification Number (l-"`EIN) (If Applicable)

 

not applicable

 

 

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IN THE MARYLAND HEALTH CLAIMS
ALTERNATIVE DISPUTE RESOLUTION OFFICE

 

DENISE THORTON, Individually, and as Personal
Representative of the Estate of CIERRA RANDOLPH
9625 Aitehead Court
Randallstown, MD 21133

 

 

 

 

 

and D
- MAR 2 4 Z[lll
ADRLALN MILES as Parent and Next Friend of HEALTH cane
ADRIAN MILES, a minor A§§§§f@;:§§%'§§q;e
4108 Frankford Ave, 2r1d floor
Baltimore MD 21206
and
KEITH RANDOLPH, lndividually
1810 Harlem Avenue
Baltirnore, M]) 21217
Clairnants
HCA No.:
vs.

 

 

MARYLAND GENERAL HOSPITAL, lNC.
827 Linden Ave.
Baltimore, MD 21201

Serve:
Resident Agent
Megan M. Arthur
24th rigor
250 W. Pra_tt S_tre_et
Baltimore, MD 21201

 

 

Health Care Providers.

STATEMENT OF CLAIM

 

 

Claimants, as set forth in the above caption, by and through counsel, The Cochran Firm,

file this Claim against Health Care Provider Maryland General Hospital, lnc. and allege as

follows in support of the claim:

 

 

 

 

 

 

 

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PARTIES
1. Claimant Denise Thomton is the duly appointed administrator of the Estate of

Cierra Randolph, and Cierra Randolph’s natural mother. Denise Thomton resides at 9625

Axehead Coult, Randallstown, Maryland

2. Claimant Adrian Miles is the natural father and parent of Adrian Miles, who is
Cierra Randolph’s natural son. Adrian Miles resides at 4108 Frankford Ave, 2nd floor,
Baltimore MD 21206.

3. Keith Randolph is the natural father of Cierra Randolph. Keith Randolph resides
at 1810 Harlern Avenue, Baltimore, Maryland 21217.

4'. Health Care Provider Maryland General Hospital, lnc. is, and at all times relevant
herein was, a registered Maryland Corporation conducting business in Baltimore City, and other
places, and providing health care services, including pre-natal, pen-partum and post-partum

obstetrical care to persons in need thereof

JURISDICTION AND VENUE

5. Jurisdiction is vested in this Agency because the Health Care Providers do
business in Maryland, the healthcare at issue occurred in Maryland, and the amount in
controversy exceeds 530,000 (thirty thousand).

FACTS CoMMoN To ALL coUN'rs l

6. On November 4, 2010, Cierra Randolph, then 37 weeks gestation, was admitted to
_Mar,,ylandiGeneral Hospital for onset of labor.
?. Within one hour of her presentation to Maryland General, Ms. Randolph was

diagnosed with an intra-uterine fetal demise secondary to a suspected placental abruption, with

laboratory results strongly suggestive of intrauterine hemorrhage and a severe coagulopathy.

 

 

 

 

 

 

 

 

 

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8. Ms. Randolph’s membranes were artificially ruptured at 00:14 on November 5,
2010,

9. At 01 :18 Ms. Randolph delivered a deceased male infant

10. At 10`1:20 Ms. Randolph’s placenta was delivered with gross evidence of total
abruption including alarge clot covering the retro-placental surface

11. Msi Randolph continued to hemorrhage after delivery

12. By 01:41 Hemobate and cytotec had been used in an attempt to control the
bleeding. lt was also noted at this time that the only IV line that had been started upon Ms.
Randolph’_s arrival had become infiltrated

13. By 01:45, Ms. Randolph had lost an estimated 7500c’s of blood, was continuing
to hemorrhage, and had no lV access with which to replace her intravascular volume

14. At 01 :46 Ms. Randolph was transferred to her room in order to start an lV.

15. At 01:52 nursing notes indicate that two attempts had been made at starting an IV
but neither was successfull

16. At '01:54, Nurse Chandra Dodson paged lV therapy and was told they could not
respond and that she should contact the nursing supervisor. l

17. At 02:46, with no [V in place, Anesthesia was paged by Ms. Randolph’s nurse.
Anesthesia responded by telling Ms. Randolph’s nurse to call phlebotorny.

181 At I2:52 a unit of PRBC’s was hung for Ms. Randolph. 2 minutes later, it was

discontinued because the lV was noted to be infiltrated

 

 

 

19. At 03:00 Ms. Randolph was transferred to the ICU. She arrived there with no §
access. Several more attempts at l'V placement were made without success Finally, venous
access was acquired via a right ante-cubital cut down. Ms. Randolph continued to decompensate.

20. At 03:45, a code blue was finally called and Ms. Randolph was intubated.

3

 

 

 

 

 

 

 

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21. The code was run for more than two hours Ms. Randolph was defibrillated three
times during the code Ms. Randolph’s heart rate and blood pressure eventually returned

22. Ms. Randolph remained in the ICU on a ventilator for the next day and half.
During this time, she required numerous vassopressors and infusions of blood and blood

products to maintain a blood pressure

23. At 12:30 on November 7, 2010, Ms. Randolph arrested for the final time She was

pronounced dead at 12:40 pm.

COUNT ONE
Negligence Causing Wrongful Death

24. Claimants incorporate herein by reference each and every allegation set forth
above and further state as follows:

25. Health Care Provider Maryland General l-lospital, l_nc. and its agents, servants,
and employees, owed Cierra Randolph a duty to exercise the degree of care, skill and judgment
expected of reasonable and competent health care providers, acting in they same or similar
circumstances, whose duty included, among other things, the reasonable monitoring, testing,
administration and management of Ms. ‘ Randolph’s intra and post partum bleeding
complications

26. H:ealth Care Provider Maryland General Hospital-, lnc. and its agents, servants,
and employees, were negligent in the management arid care of Cierra Randolph including, but
not limited to the diagnosis and treatment of her intra and post partum bleeding disorder.

27. As a direct and proximate result of the neghgence of Health Care Provider

 

Maryland General Hospital, l_nc. and its agents, servants, and employees, Cierra Randolph’s life

was prematurely ended

 

 

 

 

 

 

 

 

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28. As a mrther direct and proximate result of the negligence of I-Iealth Care Provider
Maryland General Hospital, Inc. and its agents, servants and employees the Claimants have
incurred funeral expenses and have incurred, and Will continue to incur in the future, the lost
financial support, emotional support, solatium, and household services of Cierra Randolph.

29. As a further direct and proximate result of the negligence of Health Care Provider
Maryland General Hospital, lnc. and its agents, servants and employees the Claimants have
been further damaged

WHEREFORE, the Claimants demand judgment in excess of $30,000 (thirty thousand)

in compensatory damages against Health Care Provider Maryland General Hospital, [nc. and its

agents, servants and employees
CoUNr rwo
Negligence »- Survival Action

30. Claimants incorporate herein by reference each and every allegation set forth
above and further state as follows:

31. Health Care Provider Maryland General Hospital, lnc. and its agents, servants
and employees owed Cierra Randolph a duty to exercise the degree of care, skill and judgment
expected of reasonable and competent health care providers acting in the same or similar
circumstances whose duty included, among other things, the reasonable monitoring, testing,
treatment and management of Ms. Randolph’s intra and post partum bleeding complications

32. Health Care Provider Maryland General Hospital, lnc. and its agents, servants,

 

and employees were negligent in the management and care of Cierra Randolph including, but

not limited to the diagnosis and treatment of Ms. Randolph’s intra and post partum bleeding

complications

 

 

 

 

 

 
 

 

 

 

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33. ' As a direct and proximate result of the negligence of Health Care Provider

Maryland General Hospital, lnc. and its agents servants, and employees Cierra Randolph’s
bleeding complications were not timely diagnosed and/or treated, causing her to consciously
suffer great pain and mental anguish up until the time of her tragic and untimely death.

34. As a further direct and proximate result of the negligence of Healtli Care Provider

 

Maryland General Hospital, lnc. and its agents, servants, and employees Corlis Gilmore was

 

further damaged

 

WHEREFORE, Denise Thornton, as Administrator of the Estate of Cierra Randolph

 

demands judgment in excess of $30,000 (thirty thousand) in compensatory damages against

Health Care Provider Maryland General Hospital, lnc., plus interest, costs and any and all other

relief as this Agency may deem appropriate

Respectfully submitted

THE COCHRAN FIRM

%\~

By: Paul M. D’Amore
1100 New York Avenue, N.W.
Suite 340, West 'l`ower
Washington,' DC 20005
Telephone: (202) 682-5800
Facsimile: (202) 408-8851

 

Counsel for Claimants

Daf€f Mml.,%,,lr>l L

 

    

 

 

 

 

 

 

 

 

 

 

